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 5
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 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-00155-MCE
11
                                 Plaintiff,             STIPULATION TO CONTINUE STATUS
12                                                      CONFERENCE AND EXCLUDE TIME PERIODS
                           v.                           UNDER SPEEDY TRIAL ACT; ORDER
13
     LUIS NUNEZ;                                        DATE: October 17, 2019
14   PABLO VARGAS; AND                                  TIME: 10:00 a.m.
     GREGORIO NUNEZ,                                    COURT: Hon. Morrison C. England, Jr.
15
                                 Defendants.
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17
                                                STIPULATION
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           1.      By previous order, this matter was set for status on October 17, 2019.
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           2.      By this stipulation, the parties move to continue the status conference until November 21,
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     2019, and to exclude time between October 17, 2019 and November 21, 2019, under Local Code T4.
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           3.      The parties agree and stipulate, and request that the Court find the following:
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                   a)     The government has represented that it has produced discovery in the form of
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           investigative reports, photographs, and audio files, which the defendants need time to review,
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           discuss with their counsel, and pursue investigation. The government has also represented that it
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           has made available to defense counsel additional electronic surveillance discovery, which the
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           defendants will also need time to review.
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                   b)     Counsel for defendant Gregorio Nunez recently substituted into this matter and
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           needs additional time to review discovery, conduct investigation, and discuss potential
      STIPULATION TO CONTINUE STATUS AND EXCLUDE        1
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 1        resolution. Counsel for all defendants believe that failure to grant the above-requested

 2        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3        into account the exercise of due diligence.

 4               c)      Based on the above-stated findings, the ends of justice served by continuing the

 5        case as requested outweigh the interest of the public and the defendants in a trial within the

 6        original date prescribed by the Speedy Trial Act.

 7               d)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8        et seq., within which trial must commence, the time period of October 17, 2019 to November 21,

 9        2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

10        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

11        of the Court’s finding that the ends of justice served by taking such action outweigh the best

12        interest of the public and the defendant in a speedy trial.

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15                                [Stipulation continued on following page.]

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     STIPULATION TO CONTINUE STATUS AND EXCLUDE         2
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5   Dated: October 15, 2019                                  MCGREGOR W. SCOTT
                                                              United States Attorney
 6
                                                              /s/ JAMES R. CONOLLY
 7                                                            JAMES R. CONOLLY
                                                              Assistant United States Attorney
 8
 9   Dated: October 15, 2019                                  /s/ Armando Villapudua
                                                              ARMANDO VILLAPUDUA
10                                                            Counsel for Defendant
                                                              Luis Nunez
11
12   Dated: October 15, 2019                                  /s/ T. Lance Archer
                                                              T. LANCE ARCHER
13                                                            Counsel for Defendant
                                                              Pablo Vargas
14
     Dated: October 15, 2019                                  /s/ Thomas A. Johnson
15                                                            THOMAS A. JOHNSON
16                                                            Counsel for Defendant
                                                              Gregorio Nunez
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          3
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 1                                                    ORDER

 2          The Court, having received, read, and considered the parties’ stipulation, and good cause

 3 appearing therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds
 4 the failure to grant a continuance in this case would deny counsel reasonable time necessary for effective
 5 preparation, taking into account the exercise of due diligence. The Court finds the ends of justice are
 6 served by granting the requested continuance and outweigh the best interests of the public and defendant

 7 in a speedy trial.
 8          The Court orders the time from the date the parties stipulated, up to and including November 21,

 9 2019, shall be excluded from computation of time within which the trial of this case must be
10 commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) (Local Code
11 T4). It is further ordered that the October 17, 2019 status conference shall be continued to December 4,
12 2019, at 10:00 a.m. Should the parties wish to further exclude time, they may file a stipulation or
13 request with the Court for consideration.
14          IT IS SO ORDERED.

15 Dated: October 28, 2019
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      STIPULATION TO CONTINUE STATUS AND EXCLUDE          4
30    TIME; ORDER
